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 11                              UNITED STATES DISTRICT COURT
 12                         CENTRAL DISTRICT OF CALIFORNIA
 13                                   WESTERN DIVISION
 14
 15
      JENNY LISETTE FLORES, et al.,            No. CV 85-4544-DMG-AGRx
 16
            Plaintiffs,                        PLAINTIFFS’ RESPONSE TO ORR JUVENILE
 17                                            COORDINATOR’S JUNE 4, 2021 INTERIM
      v.                                       REPORT
 18
 19   MERRICK GARLAND, Attorney General of
                                           Status Conference: June 25, 2021
      the United States, et al.,
 20                                        Time: 11:00 AM
                                           Hon. Dolly M. Gee
 21
            Defendants.
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  1       I.      INTRODUCTION

  2            On June 4, 2021, the ORR Juvenile Coordinator filed an interim report

  3   pursuant to the Court’s orders. See ORR Juvenile Coordinator Interim Report, June

  4   4, 2021 [Doc. # 1124-2] (“June Juvenile Coordinator Report”). On June 8, 2021,

  5   Plaintiffs requested that the Parties meet and confer to attempt to resolve Plaintiffs’

  6   concerns regarding the ORR Juvenile Coordinator’s report. See Ex. A, Emails from

  7   Carlos Holguín. On June 11, 2021, Plaintiffs also requested that the Parties

  8   continue their discussions regarding Plaintiffs’ broader concerns about Defendants’

  9   use of Emergency Intake Sites (EISs). Id. On June 16, 2021, the parties and the

 10   Independent Monitor met and conferred but were unable to resolve the concerns

 11   and requests raised by Plaintiffs.

 12            Since March 2021, Plaintiffs’ counsel have conducted site visits and

 13   interviewed children at the majority of ORR’s EISs, including the Delphi EIS,

 14   Dimmit EIS, Freeman Expo Center EIS, Fort Bliss EIS, Kay Bailey Hutchinson

 15   Convention Center EIS, Lackland Air Force Base EIS, Long Beach Convention

 16   Center EIS, Midland EIS, Pecos EIS, and Starr Commonwealth EIS, as well as the

 17   Carrizo Springs Temporary Influx Shelter. During these visits, Plaintiffs’ counsel

 18   also interviewed children whom ORR had previously detained at the NACC

 19   Houston EIS and the Pennsylvania International Academy EIS, both of which are

 20   now closed. In addition, Plaintiffs have evaluated the June Juvenile Coordinator

 21   Report in light of class member population reports ORR supplies pursuant to

 22   paragraph 29 of the Settlement, as well as nominally internal “Operation Artemis”

 23   reports appearing in the public record.1

 24            Plaintiffs are increasingly concerned about the prolonged detention of

 25
      1
 26    See Operation Artemis Senior Leader Brief, May 13, 2021, cited in Camilo
      Montoya-Galvez, Migrant children describe poor conditions at makeshift U.S.
 27   shelters in interviews with attorneys, CBS News, May 19, 2021,
 28   https://www.cbsnews.com/news/immigration-border-migrant-children-poor-
      conditions-shelters/.

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  1   thousands of children in unlicensed, standardless EIS facilities, which are, at best,
  2   suitable for short-term emergency care and are inherently incapable of caring for
  3   children as the Settlement requires. According to the Juvenile Coordinator Report,
  4   nearly half of all children in ORR custody are now detained in EISs. June Juvenile
  5   Coordinator Report at 3. Because ORR has yet to implement binding standards for
  6   EISs, the conditions and treatment children experience in such facilities vary
  7   greatly.
  8         In the largest EISs—most notably, the Fort Bliss EIS near El Paso, Texas—
  9   children are confined in immense, communal tents, in which 300-600 children
 10   spend nearly all day in exceedingly close quarters. Children report —
 11         •      being permitted to leave the massive tents for outdoor recreation for
 12                as little as one hour daily;
 13         •      having virtually no personal privacy for weeks on end;
 14         •      receiving no education apart from at most an hour and a half of
 15                instruction in English as a second language;
 16         •      receiving no consistent mental health services;
 17         •      sleeping during the day due to extreme boredom and hopelessness;
 18         •      being allowed no visitation with their families;
 19         •      being permitted to telephone parents and relatives for only ten minutes
 20                twice weekly;
 21         •      receiving no legal assistance apart from a generalized “know your
 22                rights” presentation.
 23         Compounding the foregoing hardships, many children report being kept in
 24   the dark about how long they will detained, what has been done to reunify them
 25   with their parents or other sponsors, or why other children have been released
 26   promptly while they endure seemingly indefinite detention.
 27         Obviously, these conditions and treatment fall far below the standards of a
 28   properly licensed placement, which the Settlement requires ORR to afford children

                                                  2            PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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  1   “as expeditiously as possible.” Exs. in Support of Motion to Enforce Settlement,
  2   February 3, 2015 [Doc. #101], Ex. 1 (“Settlement”), ¶ 12.A.3.
  3         Of course, the reasons ORR has resorted to EISs are not in dispute.
  4   Nonetheless, the increase in unaccompanied children arriving at the U.S.-Mexico
  5   border began nearly six months ago, plateaued in March, and has been falling
  6   sharply ever since.2 It may be that the immensely powerful U.S. Government still
  7   cannot do better by children than it is, but that assumption is becoming
  8   increasingly shop-worn as months go by and the number of children entering ORR
  9   custody continues to fall.3
 10
      2
 11     See Southwest Land Border Encounters, www.cbp.gov/newsroom/stats/southwest-
      land-border-encounters (last visited June 18, 2021) (May 2021 CBP “encounters”
 12
      with unaccompanied minors down 25 percent from March 2021 encounters).
 13   3
        Indeed, according to the June Juvenile Coordinator Report, as of May 31, ORR
      had 17,418 children in custody. June Juvenile Coordinator Report at 3. This
 14
      amounts to approximately 4,200 more children than ORR had in custody in June
 15   2019 (13,179), the apex of the last UC influx. Compare June Juvenile Coordinator
      Report at 3 with Ex. B, Declaration of Carlos Holguín, ¶¶ 3-4, June 21, 2021
 16
      (“Holguín June 21 Dec.”). Why the agency is still—despite having had nearly six
 17   months to open additional licensed beds—housing 8,368 children in EISs and
 18   another 571 in the Carrizo Springs influx facility, cannot be explained
      mathematically or as a rational response to the pandemic. See June Juvenile
 19   Coordinator Report at 3.
 20
      Children at EISs are routinely packed into industrial-scale, congregate settings that
 21   cannot possibly offer them any greater protection against contagion than they would
 22   receive at licensed facilities operating at their full, pre-pandemic capacity. In any
      event, the “CDC has recently directed ORR to relax its guidelines and to
 23   accommodate children at full capacity.” See William A. Kandel, Increasing
 24   Numbers of Unaccompanied Alien Children at the Southwest Border,
      Congressional Research Service, April 9, 2021, 2,
 25   https://crsreports.congress.gov/product/pdf/IN/IN11638/2.
 26
      In June 2019, ORR had 2,407 children—or 18.3 percent of all children in its
 27   custody—in unlicensed “influx” placement. Holguín June 21 Dec., ¶ 4. Even
 28   assuming, arguendo, ORR were justified in placing all 4,200 children it now has


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  1            Given the foregoing, the June Juvenile Coordinator Report fails to shed
  2   adequate light on whether ORR is discharging its duty under the Settlement to
  3   place children in properly licensed facilities “as expeditiously as possible.” The
  4   report fails to adequately respond to the Court’s May 12, 2021 Order and offers
  5   scant evidence and inadequate assurance that Defendants are providing adequate
  6   case management, making diligent efforts to expeditiously transfer children from
  7   EISs to licensed facilities, or even fully utilizing their existing licensed capacity.
  8      II.      RESPONSE TO JUVENILE COORDINATOR REPORT
  9            A. Children are detained for months in unlicensed EISs that are
 10               incapable of meeting their needs.
 11            The Court ordered the Juvenile Coordinator to provide “a census of minors

 12   in an EIS for more than 20 days and those minors’ length of stay.” Order re May 7,

 13   2021 Status Conference at 3, May 12, 2021 [Doc. #1122] (“May 12, 2021 Order”).

 14   The Juvenile Coordinator reports that, as of May 31, 2021, over 2,100 children had

 15   spent 41 days or longer in an EIS and over 2,600 children had spent between 21

 16   and 40 days in an EIS. June Juvenile Coordinator Report at 7. Additionally,

 17   hundreds of children have spent 60 days or longer in EISs, including at least 122

 18   children at the Fort Bliss EIS and 70 children at the Pecos EIS. See Ex. C,

 19   Declaration of Melissa Adamson, Ex. 1 Emergency Intake Site and Influx Care

 20   Facility Data Summary (“Data Summary”) at 2, June 11, 2021; see also Ex. D,

 21   Declaration of F.P.P. ¶ 8, June 9, 2021 (“F.P.P. Dec.”); Ex. E, Declaration of

 22   K.L.M. ¶ 8, June 4, 2021 (“K.L.M. Dec.”).

 23            EIS facilities are not designed to provide long-term care to unaccompanied

 24   children and it is fundamentally inappropriate for children to spend weeks or

 25   months in these facilities. See June Juvenile Coordinator Report at 4 (noting that

 26
 27   over and above its June 2019 population, that would at most excuse 6,600 of ORR’s
 28   current emergency placements, but not 8,939, which now accounts for 51.3 percent
      of ORR’s entire detainee population. See June Juvenile Coordinator Report at 3.

                                                  4              PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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  1   EISs “are intended to be short-term/temporary facilities” and “are designed for
  2   mass care and offer basic standards of care for minors”). For example, children at
  3   the Fort Bliss EIS sleep in rows of bunk cots in giant tents with hundreds of other
  4   children, enjoy no privacy, receive almost no structured education, have little to do
  5   during the day, and lack adequate mental health care to address children’s severe
  6   anxiety and distress surrounding their prolonged detention.4 See Ex. G, Declaration
  7   of Carlos Holguín ¶¶ 13, 26-30, June 10, 2021 (“Holguín June 10 Dec.”); see also
  8   Ex. F, Declaration of E.A.M.R. ¶¶ 9-11, 15, 17, 19, 24, 30-31, June 4, 2021
  9   (“E.A.M.R. Dec.”); Ex. H, Declaration of E.Y.O.G. ¶¶ 29, 31, April 29, 2021
 10   (“E.Y.O.G. Dec.”); K.L.M. Dec. ¶¶ 8-14, 16-19, 29, 34; Ex. I, Declaration of
 11   D.L.M.E., ¶¶ 7-16, 23, May 3, 2021 (“D.L.M.E. Dec.”); Ex. J, Declaration of
 12   E.M.E.O., ¶¶ 8-14, 17-19, May 3, 2021 (“E.M.E.O. Dec.”); Ex. K, Declaration of
 13   K.M.T., ¶¶ 11-16, 22-27, 30-33, April 28, 2021 (“K.M.T. Dec.”); Ex. L,
 14   Declaration of G.M.Z.S., ¶¶ 9-15, April 20, 2021 (“G.M.Z.S. Dec.”).
 15         B. Inadequate case management at EISs unnecessarily delays release
 16            and harms children.
            The Court ordered the Juvenile Coordinator to report on “case management
 17
      services at each facility.” May 12, 2021 Order at 2 (emphasis added). The Court
 18
      further ordered the Juvenile Coordinator to provide “updates on ORR’s plans to
 19
      improve case management and expedite release of minors.” Id. at 3. The Juvenile
 20
      Coordinator Report fails to adequately respond to either inquiry.
 21
            The Juvenile Coordinator Report offers no detail on case management
 22
      services at individual ORR facilities and provides no information from which it
 23
 24   4
        Plaintiffs’ mental health expert, Dr. Ryan Matlow, visited Fort Bliss with
 25   Plaintiffs’ counsel on June 3 and 4, 2021 and he shared his concerns and
 26   recommendations with Defendants during the parties’ June 16, 2021 meet and
      confer. See also Julie Watson, Amy Taxin, and Adriana Gomez Licon, Panic
 27   attacks highlight stress at shelters for migrant kids, AP NEWS, June 14, 2021,
 28   https://apnews.com/article/government-and-politics-politics-stress-immigration-
      health-0801f0a93bf74a51e405562cb3c1c55c.

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   1   may reasonably be concluded that adequate case management is being supplied at
   2   any given facility. June Juvenile Coordinator Report at 8-9. Instead, the report
   3   states generally that, “Currently, all EIS facilities have case management services in
   4   place. Some EIS facilities have developed robust Case Management Services while
   5   others continue to ramp up their services.” Id. at 9. The report offers no definition
   6   of “robust Case Management”, nor does it mention where “robust Case
   7   Management” is available and where it is not. Moreover, the report offers no
   8   indication of a timeline by which all EISs will have “robust Case Management.” Id.
   9         That case management services are technically available at a facility does not
 10    mean that every child is receiving case management. Children detained at EISs
 11    continue to report serious delays and interruptions in case management, including
 12    (i) not meeting with a case manager for weeks or even months; (ii) having no ability
 13    to request a meeting with their case manager; (iii) hearing nothing from their case
 14    manager for extended periods; (iv) having case managers removed or replaced
 15    without notice or explanation, interrupting their release process; and (v) remaining
 16    in EIS detention much longer than other children because of disparities in case
 17    management. See Ex. M, Declaration of M.E.L.A. ¶¶ 4, 6-7, June 9, 2021
 18    (“M.E.L.A. Dec.”) (has never met case manager after approximately 62 days in
 19    detention at an EIS and would like to talk to a case manager); Ex. N, Declaration of
 20    A.S.B.A. ¶¶ 6-7, June 8, 2021 (“A.S.B.A. Dec.”) (waited approximately one month
 21    to meet with a case manager about release to her mother); Ex. O, Declaration of
 22    E.S.G.V. ¶¶ 12, 15-16, April 20, 2021 (“E.S.G.V. Dec.”) (had not yet met with case
 23    manager after 22 days in detention at an EIS); E.A.M.R. Dec. ¶¶ 28-29 (interruption
 24    in case management); F.P.P. Dec. ¶¶ 6-9 (sponsor sent paperwork 4 weeks ago and
 25    heard nothing back; hasn’t spoken to case manager after 62 days of detention and
 26    other kids have left more quickly); Ex. P, Declaration of W.P.L. ¶¶ 9, 11, May 12,
 27    2021 (“W.P.L. Dec.”) (had not received any information on sponsorship process
 28

                                                  6             PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1   despite being detained one month); Ex. Q, Declaration of Y.A.A.V. ¶ 22, March 29,
   2   2021 (“Y.A.A.V. Dec.”) (“There is no one here I can talk to about my case.”).
   3         As to the Court’s inquiry regarding plans to improve case management and
   4   expedite release, the report includes information about ORR’s plans to expedite the
   5   release of children but does not report on any plans to improve case management.
   6   See June Juvenile Coordinator Report at 7-8. While Plaintiffs welcome ORR’s
   7   efforts to expedite releases, such policy changes are not a substitute for case
   8   management. Without case management, even children eligible for expedited
   9   release to their parents have spent weeks at EISs without any progress toward
 10    release. See E.Y.O.G. Dec. ¶¶ 14-15, 25-26 (child spent 15 days at one EIS and 12
 11    days at another EIS and mother had not yet been contacted to begin release
 12    process); Ex. R, Declaration of M.A.L. ¶ 4, 8-10, April 28, 2021 (“M.A.L. Dec.”)
 13    (had not spoken to a case manager about release to her mother after 23 days at EIS).
 14           The continued shortfalls and seeming chaos in case management at EISs
 15    unnecessarily delays children’s release and violates Defendants’ obligation to
 16    “make and record the prompt and continuous efforts on [their] parts toward family
 17    reunification and the release of the minor.” Settlement ¶¶ 14, 18. Inadequate case
 18    management also delays transfers to licensed shelters for children who cannot be
 19    quickly released to a sponsor. See Settlement ¶ 12.A. Without prompt case
 20    management, ORR cannot timely determine whether a child is likely to face a
 21    prolonged length of stay because of additional steps in their release process, such
 22    as the need for a home study. See, e.g., A.S.B.A. Dec. ¶¶ 4, 7. Finally, the lack of
 23    consistent case management and clear communication about the status of their
 24    cases causes children severe anxiety and distress. E.S.G.V. Dec. ¶¶ 15, 28; K.L.M.
 25    Dec. ¶¶ 8, 17-19, 29, 34; F.P.P. Dec. ¶¶ 8-9, 12, 16; Ex. S, Declaration of E.C.O.
 26    ¶¶ 18, 20, April 19, 2021 (“E.C.O. Dec.”).
 27
 28

                                                 7              PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1         C. Children are not expeditiously transferred to licensed facilities.

   2         The Court ordered the Juvenile Coordinator to provide “updates on ORR’s

   3   plans, if any, with respect to long-term use of EISes and processes to transfer

   4   minors from EISes into licensed facilities, if release to a sponsor is not feasible.”

   5   May 12, 2021 Order at 3. The Settlement requires that a child be placed in “a

   6   ‘licensed program’ within three days of their arrest—or, in the case of an

   7   ‘emergency or influx,’ ‘as expeditiously as possible.’” Order re Pls.’ Mot. To

   8   Enforce Settlement as to “Title 42” Class Members at 12, Sept. 4, 2020 [Doc.

   9   # 976] (“Sept. 4, 2020 Order”) (citing Settlement at ¶¶ 12, 19).

 10          Although ORR has now been operating EISs for over three months and some

 11    children have been detained in EISs for over two months, the Juvenile Coordinator

 12    Report offers no details on processes or criteria ORR uses to determine which

 13    children are transferred to licensed facilities and when those transfers occur. See

 14    June Juvenile Coordinator Report at 7-8; see also Interim Report and

 15    Recommendations by Independent Monitor and Special Expert Dr. Paul H. Wise at

 16    16, April 2, 2021 [Doc. # 1103] (Midland EIS opened on March 14, 2021 and Kay

 17    Bailey Hutchinson Convention Center EIS opened on March 17, 2021). The report

 18    notes only that ORR is “shifting focus to addressing minors with lengthy LOS at

 19    EIS and licensed facilities” and that efforts include “transfer of minors to licensed

 20    facilities when release is not imminent.” June Juvenile Coordinator Report at 8.

 21          Given the alarming number of children who have spent months in EIS

 22    facilities, these vague statements are insufficient to show that ORR is fulfilling its

 23    obligations under the Settlement to make good faith and diligent efforts to transfer

 24    children to licensed facilities as expeditiously as possible. See Sept. 4, 2020 Order

 25    at 12; see also Flores v. Lynch, 212 F. Supp. 3d 907, 914 (C.D. Cal. 2015) (noting

 26    that 20 days “may fall within the parameters of Paragraph 12A” if it “is as fast as

 27    Defendants, in good faith and in the exercise of due diligence, can possibly go in

 28    screening family members for reasonable or credible fear”). Moreover, the report


                                                  8              PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1   offers no indication as to what criteria, if any, ORR uses to determine which
   2   children are afforded licensed placement and which children are relegated to
   3   prolonged EIS detention. See Order re. Defs. Ex Parte Application to Stay at 4,
   4   Sept. 21, 2020 [Doc. # 990] (“The Flores Agreement does not sanction such
   5   arbitrary discrimination between its Class Members.”).
   6         While Plaintiffs understand that ORR’s efforts must be “flexible and
   7   dynamic,” June Juvenile Coordinator Report at 8, such flexibility must be
   8   accompanied by policies and procedures to ensure that children do not fall through
   9   the cracks and are expeditiously transferred to licensed facilities if they cannot be
 10    promptly released to sponsors.
 11          D. ORR is not fully utilizing its licensed bed capacity.
 12          The Court ordered the Juvenile Coordinator to provide “updates on ORR’s
 13    plans, if any, to expand capacity, particularly of licensed shelter beds.” May 12,
 14    2021 Order at 3. The Juvenile Coordinator’s Report offers few details on ORR’s
 15    plan to increase its licensed capacity and ORR has not significantly increased its
 16    licensed bed capacity over the last several months. ORR has added 279 licensed
 17    beds in shelters, 31 licensed temporary foster care beds, and 3 licensed long term
 18    foster care beds. Compare ORR Juvenile Coordinator Interim Report at 3, April 9,
 19    2021 [Doc. # 1104-2] with June Juvenile Coordinator Report at 3.
 20          Of particular concern is that the Juvenile Coordinator’s Report indicates that
 21    hundreds of ORR’s current licensed beds are left unused. See June Juvenile
 22    Coordinator Report at 3-5. The Juvenile Coordinator reports that 473 of 1,408
 23    transitional foster care beds were unoccupied as of May 31, 2021. June Juvenile
 24    Coordinator Report at 3. In addition, ORR had 596 unoccupied shelter beds and
 25    199 empty long-term foster care beds. Id.5 Clearly children are not being transferred
 26    5
         The report also states that ORR has over 240 unused beds at Influx Care Facilities,
 27    representing 30 percent of total influx capacity. June Juvenile Coordinator Report at
 28    3. Although these beds are not licensed, Influx Care Facilities are preferable to EISs


                                                  9             PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1   to licensed placements “as expeditiously as possible” when children remain in
   2   unlicensed EIS facilities for prolonged periods of time while licensed beds sit
   3   unused. See Settlement ¶ 12.A.
   4         The Juvenile Coordinator Report does not adequately explain why ORR is
   5   not fully utilizing its existing licensed beds. The report offers no explanation at all
   6   for the hundreds of unused shelter beds. See June Juvenile Coordinator Report at 3.
   7   As for the 34% of transitional foster care beds and 43% of long-term foster care
   8   beds sitting empty, the report states that some “families and/or foster care programs
   9   have declined to accept minors directly from the border” and that “a foster care
 10    home may have specifications for the demographics able to reside with them (i.e.
 11    parenting teens, tender aged children, and special needs).” June Juvenile
 12    Coordinator Report at 3.6
 13          Yet over 250 tender age children have spent 20 days or longer at EIS
 14    facilities, including 5- and 6-year-old children held at EISs for over a month and 8-
 15    and 9-year old children held in EISs for 40 days. See Data Summary at 3-4; see also
 16    Ex. T, Declaration of Y.F.A.G.G. ¶¶ 3, 5, 8-9, May 12, 2021 (“Y.F.A.G.G. Dec.”).
 17    ORR, meanwhile, has over 470 empty transitional foster care beds. See June
 18    Juvenile Coordinator Report at 3. There is no apparent reason why these tender age
 19    children could not be quarantined, tested for Covid, and placed in transitional foster
 20    homes in well under 20 days. Pregnant teenagers have also been placed at EISs for
 21
 22    because they are subject to higher standards and provide children with a greater
       array of services than EISs. See ORR Policy Guide 7: Policies for Influx Care
 23    Facilities, https://www.acf.hhs.gov/orr/policy-guidance/children-entering-united-
 24    states-unaccompanied-section-7#7.1 (last visited June 18, 2021); see also
       Declaration of Leecia Welch ¶¶ 14-20, April 9, 2021 [Doc. # 1109-1].
 25    6
         See also ORR Policy Guide 1.2.2: Children with Special Needs,
 26    https://www.acf.hhs.gov/orr/report/children-entering-united-states-unaccompanied-
       section-1#1.2 (last visited June 18, 2021) (giving priority for transitional foster care
 27    placements to children under 13 years of age, sibling groups with one sibling under
 28    13 years of age, teens who are pregnant or are parenting, and children or youth with
       special needs).

                                                  10             PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1   prolonged periods of time, despite also having priority for transitional foster care
   2   under ORR Policy. See Ex. U, Declaration of K.E.V.V. ¶¶ 6-9, May 26, 2021
   3   (“K.E.V.V. Dec.”).7
   4        III.      CONCLUSION
   5               Plaintiffs respectfully request that the Court order the Juvenile Coordinator
   6   to provide an updated report on:
   7               (1) Findings from the Juvenile Coordinator’s site visits to Texas EISs in
   8                  June 2021, including a summary of conditions at these facilities. See June
   9                  Juvenile Coordinator Report at 2.
 10                (2) A census of minors in an EIS for more than 20 days, more than 40 days,
 11                   and more than 60 days, and those minors’ length of stay.
 12                (3) An update on the status of case management at each facility, including
 13                   the name of the contractor providing case management at each facility,
 14                   the ratio of case managers to children at each facility, how frequently
 15                   children meet with case managers at each facility, and how many
 16                   children at each facility have not yet met with a case manager and their
 17                   lengths of stay.
 18                (4) A specific explanation of ORR’s processes to expeditiously transfer
 19                   children to licensed facilities and the policy or procedure, if any, by
 20                   which ORR decides which children are placed in a licensed facility,
 21                   which at an Influx Care Facility (ICF), and which at an EIS.
 22                (5) A specific explanation for why existing licensed beds and ICF beds are
 23                   unoccupied, why tender age children remain at EISs instead of
 24                   transitional foster care placements, ORR’s specific plans to expeditiously
 25                   transfer children to empty licensed beds, and ORR’s efforts to expand
 26                   capacity at licensed shelters.
 27
 28    7
           See also ORR Policy Guide 1.2.2, supra, fn. 6.

                                                       11             PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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   1   Dated: June 21, 2021        CENTER FOR HUMAN RIGHTS AND
                                   CONSTITUTIONAL LAW
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                                   /s/ Leecia Welch___________
   9                               Leecia Welch
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                                            12             PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATOR REPORT
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